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11 Attorneys for Plaintiff,
12 Susan Chudabala
13
                              UNITED STATES DISTRICT COURT
14
                             CENTRAL DISTRICT OF CALIFORNIA
15
                                      WESTERN DIVISION
16
17 Susan Chudabala,                            Case No.: 2:12-cv-04880-E
18
                 Plaintiff,                    NOTICE OF SETTLEMENT
19
20       vs.

21 United Resource Systems, Inc; and DOES
22 1-10, inclusive,
23                      Defendants.
24
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26
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28
      2:12-cv-04880-E                                             NOTICE OF SETTLEMENT
     Case 2:12-cv-04880-E Document 7 Filed 07/11/12 Page 2 of 4 Page ID #:28



 1                             NOTICE OF SETTLEMENT
 2
             NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
 3
 4 reached a settlement. The Plaintiff anticipates filing a notice of withdrawal of
 5 Complaint and voluntary dismissal of this action with prejudice pursuant to Fed. R.
 6
   Civ. P. 41(a) within 60 days.
 7
 8       The parties hereby further request that this honorable Court provide a period of
 9 60 days within which to complete the settlement and file a dismissal of the action.
10
11
12
13                                             By: /s/ Tammy Hussin
14                                             Tammy Hussin Of Counsel
                                               Lemberg & Associates, LLC
15                                             Attorney for Plaintiff, Susan Chudabala
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      2:12-cv-04880-E                                                 NOTICE OF SETTLEMENT
     Case 2:12-cv-04880-E Document 7 Filed 07/11/12 Page 3 of 4 Page ID #:29



 1                                   CERTIFICATE OF SERVICE
 2
             I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On July 11, 2012, I served a true copy of
 5 foregoing document(s): NOTICE OF SETTLEMENT.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants United
 8 certify that on July 11, 2012, a copy of      Resource Systems, Inc
   the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
             I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27           Executed on July 11, 2012.
28
                                                  3
      2:12-cv-04880-E                                                    NOTICE OF SETTLEMENT
     Case 2:12-cv-04880-E Document 7 Filed 07/11/12 Page 4 of 4 Page ID #:30



 1
 2                                           By: /s/ Tammy Hussin
                                             Tammy Hussin Of Counsel
 3                                           Lemberg & Associates, LLC
 4                                           Attorney for Plaintiff, Susan Chudabala

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      2:12-cv-04880-E                                              NOTICE OF SETTLEMENT
